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Form nct13mtg
                                 UNITED STATES BANKRUPTCY COURT

                                           Eastern District of Arkansas


In Re:      Karen D Easter
            Debtor
                                                                      Case No.: 4:22−bk−10799
                                                                      Chapter: 13
                                                                      Judge: Phyllis M. Jones
                                                                      Trustee: Mark T. McCarty
                                                                      Chapter 13 Standing Trustee
                                                                      Line 1: 877−951−7471 code4545532
                                                                      Line 2: 877−692−1036 code7210329
                                                                      P.O. Box 5006
                                                                      N. Little Rock, AR 72119−5006



                             NOTICE OF CONTINUED MEETING OF CREDITORS


NOTICE IS HEREBY GIVEN that the 341(a) Meeting of Creditors is set to 9/6/22, 10:00 AM at the following
location:

341a Telephonic Meeting, use Teleconf number Line 2, shown in trustee's address above.

DEBTOR'S FAILURE TO APPEAR AT THE TIME AND PLACE SET MAY RESULT IN DISMISSAL OF THE
CASE, WITHOUT FURTHER NOTICE OR HEARING BY THE COURT.


Dated: 7/29/22
                                                   Linda McCormack, Clerk
